Case 1:18-cv-01530-JDW Document 180 Filed 10/15/21 Page 1 of 2 PageID #: 7396




                                         October 15, 2021



The Honorable Joshua D. Wolson                                      VIA ELECTRONIC FILING
James A. Byrne U.S. Courthouse
601 Market Street, Room 3809
Philadelphia, PA 19106

         Re:     MED-EL Elektromedizinische Geräte GES.M.B.H., et al. v. Advanced Bionics,
                 LLC, C.A. No. 18-1530-JDW

Dear Judge Wolson:

        Following up on the most recent teleconference with the Court, we write to provide a
brief update and to express our concern that the outstanding discovery is not being produced by
MED-EL with sufficient urgency to meet the Court’s extended fact discovery deadline. To avoid
further delays in the schedule, AB provides this update and requests further relief from the Court
to move things along.

       The Court will recall counsel for AB providing an update on the last teleconference
regarding outstanding documents MED-EL was still producing, and the need to depose
additional MED-EL witness(es) regarding these documents. The attached email communication,
and commitment from MED-EL to produce these documents and witness(es), was the basis for
AB’s update.

        Despite repeated inquiries from AB to complete the production and provide dates certain
for the depositions, MED-EL has been unable to commit to any timeline for completion of
document production or the remaining depositions.

         To avoid further delay in the schedule, we would ask the Court to order that:

         1.      MED-EL fully complete its additional document production no later than October
                 21st;

         2.      MED-EL provide by October 19th the availability of its financial 30(b)(6)
                 witness (John Joyce) for deposition during the week of October 25th;

         3.      MED-EL provide by October 19th Mr. Gamble’s availability for a follow-up
                 deposition regarding the additional documents during the week of October 25th.



{01734343;v1 }
Case 1:18-cv-01530-JDW Document 180 Filed 10/15/21 Page 2 of 2 PageID #: 7397
The Honorable Joshua D. Wolson
October 15, 2021
Page 2



         We appreciate the Court’s attention to this matter.

                                                      Respectfully,

                                                      /s/ Steven J. Balick

                                                      Steven J. Balick (#2114)
SJB/nml
Attachment

cc:      All Counsel of Record (via electronic mail; w/attachment)




{01734343;v1 }
